                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION


HOMELAND INSURANCE COMPANY OF
NEW YORK,

        Plaintiff,                                            CIVIL ACTION NO.: 1-20-cv-783

v.

CLINICAL PATHOLOGY
LABORATORIES, INC., AND SONIC
HEALTHCARE USA, INC.,

        Defendants.


                  DECLARATION OF GREG VAN HOUTEN IN SUPPORT OF
                   DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        1.        My name is Greg Van Houten. I am over the age of 21, am of sound mind, have

     never been convicted of a felony and am fully capable of making this declaration. All of the

     statements in this declaration are based on my personal knowledge. The statements contained

     herein are true and correct.

        2.        I am an Associate with the law firm of Haynes & Boone, LLP, attorneys of record

     for Defendants Clinical Pathology Laboratories, Inc. (“CPL”) and Sonic Healthcare USA, Inc.

     (“SHUSA,” together with CPL, the “Defendants”).

        3.        I am admitted pro hac vice for this case.

        4.        Plaintiff Homeland Insurance Co. of New York (“Homeland”) has pled that it

     provided Medical Facilities and Providers Professional Liability Insurance to Defendants since

     at least the June 30, 2014 to June 30, 2015 policy period. See Pl.’s Second Am. Compl. ¶ 40

     [Dkt. 56].




DECLARATION OF GREG VAN HOUTEN                                                         PAGE 1 of 4
         5.        Homeland has in fact provided Medical Facilities and Providers Professional

    Liability Insurance to Defendants since at least the June 30, 2013 to June 30, 2014 policy

    period (the “2013 Policy”). A true and correct partially redacted copy of the 2013 Policy,

    which has been produced via discovery at DEF-CPL_0000062386, is attached hereto as

    Exhibit A-1.1

         6.        Based upon my review of the insurance policies issued to CPL by Homeland and

    the pleadings filed in this case, I can affirm that, starting with the issuance of the 2013 Policy

    on June 30, 2013, CPL’s coverage with Homeland was continuous and uninterrupted until the

    expiration of the 2017 Primary Policy on June 30, 2018.

         7.        Attached hereto as Exhibit A-2 is a true and correct copy of a letter sent by Mr. John

    Brooks, Outside Counsel for Homeland, to Mr. Mark Beaman, Outside Counsel for

    Defendants, dated July 10, 2020 and produced via discovery at DEF-CPL_0000062463.

                   a.       Exhibit A-2 is subject to Defendants’ Unopposed Motion to Seal and so

                            only a slip sheet appears at Exhibit A-2.

         8.        Attached hereto as Exhibit A-3 is a true and correct copy of a letter sent by Mr. John

    Brooks, Outside Counsel for Homeland, to Mr. Mark Beaman, Outside Counsel for

    Defendants, dated May 26, 2020 and produced via discovery at DEF-CPL_0000062454.

                   a.       Exhibit A-3 is subject to Defendants’ Unopposed Motion to Seal and so

                            only a slip sheet appears at Exhibit A-3.




1
 Paragraph 12 of the Agreed Confidentiality, Protective, and Non-Waiver Order provides that, “[i]n the event a party
wishes to use any Classified Information in . . . papers filed in this litigation, the party shall . . . file only a redacted
copy of the information.” [Dkt. 40]. Homeland requested that Defendants “redact all mentions of premiums” and
also “any other pricing or rating info[rmation]” from the 2013 Policy. Defendants have done so, and that is why
Exhibit A-1 is partially redacted.


DECLARATION OF GREG VAN HOUTEN                                                                                PAGE 2 of 4
     9.     Attached hereto as Exhibit A-4 is a true and correct copy of a letter sent by Mr. John

  Brooks, Outside Counsel for Homeland, to Mr. Mark Beaman, Outside Counsel for

  Defendants, dated February 4, 2019 and produced via discovery at DEF-CPL_0000062364.

            a.     Exhibit A-4 is subject to Defendants’ Unopposed Motion to Seal and so

                   only a slip sheet appears at Exhibit A-4.

     10.    Attached hereto as Exhibit A-5 is a true and correct copy of a letter sent by Mr. John

  Brooks, Outside Counsel for Homeland, to Mr. Mark Beaman, Outside Counsel for

  Defendants, dated May 31, 2019 and produced via discovery at DEF-CPL_0000062477.

            a.     Exhibit A-5 is subject to Defendants’ Unopposed Motion to Seal and so

                   only a slip sheet appears at Exhibit A-5.

     11.    Attached hereto as Exhibit A-6 is a true and correct copy of a letter sent by

  Ms. M. Ringland, on behalf of Homeland, to Ms. S. Foster, SVP with SHUSA, dated

  October 14, 2019 and produced via discovery at DEF-CPL_0000062441.

            a.     Exhibit A-6 is subject to Defendants’ Unopposed Motion to Seal and so

                   only a slip sheet appears at Exhibit A-6.

     12.    Attached hereto as Exhibit A-7 is a true and correct copy of a letter sent by Mr. John

  Brooks, Outside Counsel for Homeland, to Mr. Mark Beaman, Outside Counsel for

  Defendants, dated November 11, 2019 and produced via discovery at DEF-CPL_0000062448.

            a.     Exhibit A-7 is subject to Defendants’ Unopposed Motion to Seal and so

                   only a slip sheet appears at Exhibit A-7.

     13.    Attached hereto as Exhibit A-8 is a true and correct copy of a letter sent by Mr. John

  Brooks, Outside Counsel for Homeland, to Mr. Mark Beaman, Outside Counsel for

  Defendants, dated September 19, 2018 and produced via discovery at DEF-CPL_0000062371.




DECLARATION OF GREG VAN HOUTEN                                                        PAGE 3 of 4
              a.     Exhibit A-8 is subject to Defendants’ Unopposed Motion to Seal and so

                     only a slip sheet appears at Exhibit A-8.

      14.     Attached hereto as Exhibit A-9 is a true and correct copy of Homeland’s Response

   to CPL’s First Set of Interrogatories, dated March 12, 2021.

      15.     I declare under penalty of perjury that the foregoing is true and correct.


Executed on October 8, 2021 in Washington, D.C.


                                                             /s/ Greg Van Houten
                                                                 Greg Van Houten




DECLARATION OF GREG VAN HOUTEN                                                             PAGE 4 of 4
                                CERTIFICATE OF SERVICE

        I hereby certify that, consistent with Local Court Rule CV-5, a true and correct copy of
the foregoing was sent to all parties of record pursuant to the Electronic Filing Procedures and
the Federal Rules of Civil Procedure on this 8th day of October 2021.

                                                         /s/ Ernest Martin
                                                             Ernest Martin
